   Case: 1:19-cv-00551 Document #: 40 Filed: 02/19/19 Page 1 of 2 PageID #:2020




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


MONSTER ENGERGY COMPANY,                       )
                                               )
                                               )      Case No. 19-cv-00551
              Plaintiff,                       )
                                               )       Judge: Jorge L. Alonso
       v.                                      )
                                               )       Magistrate Judge Young B. Kim
ZUICHUDESECAI, et al.                          )
                                               )
                                               )
              Defendants.                      )
                                               )

                                 NOTICE OF MOTION

       On Tuesday, February 26, 2019 at 9:30 a.m., or as soon thereafter as counsel may be

heard, counsel for VAPOREVER BIOTECHNOLOGY (HUIZHOU) CORPORATION,

LIMITED shall appear before the Honorable Jorge L., Alonso, in courtroom 1903 and present its

Motion for Extension of Time to Answer or Otherwise filed herewith.

                                                                        Respectfully submitted,

Dated: February 18, 2019                                                       /s/ Frank Y. Gao
                                                                      ABC Patent Service, LLC
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                                                                 Attorney for Defendant,
                                  Vaporever Biotechnology (Huizhou) Corporation, Limited




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   Case: 1:19-cv-00551 Document #: 40 Filed: 02/19/19 Page 2 of 2 PageID #:2020




                              CERTIFICATE OF SERVICE


I hereby certify that on February 18, 2019, I electronically filed the foregoing Motion and
Notice of Motion using the Court’s CM/ECF system, causing a notice of filing to be served
upon all counsel of record.

                                                                             /s/ Frank Y. Gao
                                                                    ABC Patent Service, LLC
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                                                                Attorney for Defendant,
                                 Vaporever Biotechnology (Huizhou) Corporation, Limited




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